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                   EXHIBIT A
EAST BATON ROUGE PARISH             (.710165
  Filed Jul 30, 2021 9:08 AM       27     |
    Deputy Clerk of Court
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                  EDWARD            JONES                                                 CASE        NO.                    DIV.         NO.

                                                                                          19TH         JUDICIAL              DISTRICT             COURT
                  VERSUS
                                                                                          PARISH            OF     EAST        BATON            ROUGE


                   UNITED           RENTALS         INC        AND                        STATE         OF        LOUISIANA
                   KAREN        PESSON            AND     CHASE
                  MELANCHON




             L                             PETITION FOR DAMAGES FOR WRONGFUL TERMINATION
                                                 RETAILIATION AND DISCRIMINATION




                              NOW          INTO         COURT,           through          undersigned                    counsel,                comes        EDWARD

                   JONES,           a person            of     the      full      age     of majority,                   a   resident             of    the     State

                   of       Louisiana,             who,        with       respect,          shows            the     Court           as     follows:

                                                                                           I.

                              That         made         defendants               herein     are:

                               1.     UNITED            RENTALS             INC.,         D/B/A         as        UNITED            RENATL            INC.,        is      a

                              business             entity            domiciled
                                                                             in                 the     State        of       Delaware            and    licensed

                               to     do    business               in    East      Baton        Rouge         in    +the           State         of    Louisiana;

                             2.      MRS.         KAREN        PESSON,            Human     Resource               Manager            for        United        Rental

                               Inc.         and     a        person         of     full     majority                and        is     domiciled               in        the

                               State         of    Louisiana;

                               3.     Mr.         CHAYSE           MELANCHON,             District                Manager            at     United            Rental,

                               Inc.         and     a        person         of     full     majority                and        is     domiciled               in        the

                               State         of     Louisiana;               and

                               4.     Mr.         Terry        Stutes,            Service         Manager            at       United             Rentals,           Inc.

                               and     a    person            of     full        majority         and        is    domiciled                in    the     State          of

                               Louisiana




                                                                                           IT.


                               Plaintiff,                Mr.       Edward          Jones         avers            that       on      or     about        March           3,

                    2021       he     was         WRONGFULLY                TERMINATED                from        United            Rental,            Inc.        after

                   being            employed            as     a     truck        driver         for         Three           (3)     years            without           and

                    negative               performance                  evaluations.
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                                                                   ITT.


            Plaintiff                was         a         hired          contract                    employee                who               performed

specific        truck               driving                duties.            Plaintiff                    started            contacting                         the

Human        Resource               Department               to        complain             about               certain            hazardous                     and

dangerous            working                conditions                   which            led         to        the         illegal                      acts     of

RETAILIATION                   AGAINST                him         and          another                employee                    by        the             named

defendants                (human           resource                manager,                branch                Manager               and               service


manager        of         United            Rentals,                    Inc.)         in        the             form         of        a        harassing

investigation                  which         ultimately                   led        to     his           wrongful            termination.

                                                                   IV.


        Mr.     Jones               was     legally           entitled                to        contact               the     human                  resource

department           through               the        branch            manager            or     district                  manager                  to     voice

concerns            about            the     inside               of      dirty            trucks;                performing                             jobs     in

EXCESSICE           HEAT            without           ice     being            provided                   for     him        and           the           lack     of

a    coffee     pot        to        consume               morning            or     afternoon                   coffee            beverages.

                                                                  Vv.


        Plaintiff                   also         avers            that             after         he         and         another                      contract

employee        were           trying        to        adhere            to    the        safety            instructions                            of    United

Rental,        Inc.            by     informing                   the         defendants                   that         an        employee,                     Mr.

Brandon        Jones,                was     UNSAFELY                   WELDING             BY            NOT     WEARING                   A            MASK     OR


PUTTING        UP     A        SHEILD            TO        PROTECT            OTHERS            IN         THAT        AREA.               Defendants’


thereafter           ACCUSED               plaintiff               of         bullying               or    harassing                   the           employee

and     sought            to         use     this            false             claim            as         grounds                to        wrongfully

terminate           him        from        his        job.         Plaintiff               had            been        working               40           hours        a

week    at     $26.50           and        due        to    this         wrongful               termination                       is       now           seeking

justice        for        any        unpaid           wages.

                                                                  VI.


        Lastly,                plaintiff                   avers              that         he         has         been             DISCRIMINATED

against        by     the            named            defendants                   because                they        allowed                   a        HOSTILE

ENVIRONMENT               to        exist        whereby            the        word         “NIGGER”                  was     seen              displayed

on    the     computers               of     certain              white            employees.                    Plaintiff                  also            avers

that        often         times             certain               white              employees                   committed                      egregious
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offenses            but     received               NO     TERMINATION                or     REPRIMANDS.




                                                                      VII.


        The         aforesaid            accident                sued        on     herein            was        the         fault        of,    and

approximately                    caused             by         defendants,                  including                   the          following

negligent            acts        of     omission               and        commission,            among            others,            which       may

be    shown         during        the        trial        thereof:

         (A)        Negligence               of     defendants,               UNITED         RENTALS,                  INC.:

                     1.     Defendants                  violated            fundamental               public            policy        rules       by

                     wrongfully               terminating                   the     plaintiff;                   and

                     2.     Defendants                  illegally             sought        retaliation                      for     plaintiff

                     exercising                   his          rights             under,         Louisiana                    Law         wherein

                     retaliation                  actions             are    deemed         in        violation               of     Louisiana

                     Law        found         under            Louisiana             Equal            Opportunity                   Employment

                     and         Non-Discrimination                           Acts;         as         well            as,         Civil        Code

                     Article             2315,            in         the      State         of        Louisiana,                    which        are

                     specially               pleaded            herein;            and,

                     3.          Defendants                     have           violated                    Louisiana                  Law         by

                     discriminating                      against            the     plaintiff



                                                                      VIII.

        Plaintiff                alleges           that        ALL         defendants,            have           been        arbitrary           and

capricious            in        its     willful            failure            to     pay     this           claim            subsequent           to

receiving            proof        of    the        amount            of     damages        and        as     a    result,            is    liable

for    penalties                and    attorney's                fees,        as     well        as

        As      a     result            of        the     previously                mentioned                    injuries            sustained

following:

        A.     Past,        present               and     future            physical        pain            and        suffering;

        B.     Past,            present             and         future            mental          anguish                and         emotional

               distress;

             . Loss        of     enjoyment               of     life        and     loss        of    consortium;

             . Past        loss        earnings.
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                                                           IX.

            In     accordance         with         the     Louisiana             Code        of      Civil     Procedure,

articles           1572      and     1913,        plaintiffs               request       written        notice         of    any

and        all    assignments             of    this     case        for     trial      or    hearing,         and     notice

of    any        signing     of     any        judgement        herein.



                                                                X.

            In     accordance         with         the     Louisiana             Code        of      Civil     Procedure,

articles           1572      and     1913,        plaintiffs               request       written        notice         of    any

and        all    assignments             of    this     case        for     trial      or    hearing,         and     notice

of    any        signing     of     any        judgement        herein.

            WHEREFORE,           Plaintiff         prays        that        after    due     proceedings             are    had,

there        be    a     judgement         rendered        herein           in   favor       of   plaintiff,           EDWARD

JONES.




                                                           RESPECTFULLY               SUBMITTED:




                                                                             Y AT    LAW      (bar     roll#    23602)
                                                                     North       4% Street,            suite     102
                                                           BATON            ROUGE,    LOUISIANA              70815
                                                           (225)            571-4397
                                                           Email            Maynardbatiste@bellsouth.net




Please           Serve     the     Following:

      1.     United Rentals Inc.
            Through its agent for                      service         of    process
            CORPORATION            SERVICE        COMPANY
            501 LOUISIANA AVE.
            BATON ROUGE, LA.   70802
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